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                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS

WAZEE STREET OPPORTUNITIES                         )
FUND IV LP, et al.,                                )
                                                   )
               Plaintiffs,                         )
                                                   )
               v.                                  )                 No. 18-1124C
                                                   )       (Senior Judge Margaret M. Sweeney)
THE UNITED STATES,                                 )
                                                   )
       Defendant.                                  )

                         DEFENDANT’S REPLY IN SUPPORT OF ITS
                    MOTION TO DISMISS SECOND AMENDED COMPLAINT

       Defendant, the United States, respectfully provides this reply in support of its motion to

dismiss the second amended complaint filed by plaintiffs, Wazee Street Opportunities Fund IV

LP, Wazee Street Opportunities Fund V LP, Douglas Whitley, Lisa Brown, and the purported

classes they seek to represent, for lack of subject matter jurisdiction and for failure to state a

claim upon which relief can be granted. As plaintiffs’ response demonstrates, the second

amended complaint should be dismissed.

                                            ARGUMENT

        The parties agree that all of plaintiffs’ claims must be dismissed. Pl. Resp. (ECF No. 36)

at 1. The sole remaining area of contention concerns whether dismissal of Counts I, II, III, and

VIII requires a preliminary finding by the Court that the claims are derivative and not direct.

Plaintiffs contend that the Court must initially determine whether their claims are direct or

derivative, although they concede that binding precedent requires a finding that the claims are

derivative, because plaintiffs intend to challenge that binding precedent in en banc petitions to

the Federal Circuit or through petitions for certiorari to the Supreme Court. Id. at 4. They
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explain that they likely cannot challenge that precedent if their claims are dismissed based on

claim or issue preclusion. Id. at 1.

       Plaintiffs’ argument that the Court must make such a finding based on binding precedent

rather than based on preclusion ignores important aspects of the Federal Circuit’s holding in

Fairholme Funds, Inc. v. United States, 26 F.4th 1274 (2022). The Federal Circuit has held that

takings and illegal exaction claims predicated upon the Government’s alleged appropriation of

the Enterprises’ net worth, as well as on the clause in the Housing and Economic Recovery Act

(HERA) barring shareholder derivative suits – claims substantively identical to plaintiffs’ counts

I-III – are derivative claims. Id. at 1288-93. Plaintiffs here bring substantively derivative

claims, and those claims are thus brought on behalf of the Enterprises. The Enterprises, via

shareholders, have previously brought the claims that plaintiffs now advance.

       Plaintiffs argue that they are not in privity with the Fairholme plaintiffs, by virtue of the

fact that they describe their claims as direct. Pl. Resp. at 5. However, describing a claim as

“direct” does not make it so; it is the substance of the claim that governs. See In re Sunrise Sec.

Lit., 916 F.2d 874, 882 (3d Cir. 1990) (“Whether a claim is [direct] or derivative is determined

from the body of the complaint rather than from the label employed by the parties.”). Plaintiffs

seek to circumvent the Federal Circuit’s holding that the same claims brought by the Fairholme

plaintiffs were derivative, Fairholme, 1274 F.4th at 1288-93, and, thus, that the Fairholme

judgment precluded relitigation of those claims by the corporation or other shareholders, see

Cottrell v. Duke, 737 F.3d 1238, 1243 (8th Cir. 2013) (“[A] judgment rendered in a shareholder-

derivative lawsuit will preclude subsequent litigation by the corporation and its shareholders.”).1


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         We acknowledge that the Federal Circuit did not make a finding that the shareholders’
breach of fiduciary duty claim was derivative. See Fairholme, 1274 F.4th at 1297-98. The
Federal Circuit did conclude, however, contrary to plaintiffs’ allegations here, that neither HERA

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       Plaintiffs explain that their goal is to collaterally challenge the Federal Circuit’s holding

in Fairholme, Pl. Resp. at 1, even though they do not argue that they were not fairly represented

by the plaintiffs in that case. The time for the Enterprises (or shareholders on their behalf) to

challenge the Federal Circuit’s decision with regard to standing was in the Fairholme litigation.

Plaintiffs have identified no cases supporting their argument that the Court should create an

avenue of collateral review where claims have otherwise been finally decided, and the Court

should decline to do so.

                                          CONCLUSION

       For the foregoing reasons, as well as those stated in our opening brief, the United States

respectfully requests that the Court dismiss plaintiffs’ claims.




nor the Senior Preferred Stock Purchase Agreements between the Federal Housing Finance
Agency (FHFA) and Treasury created a fiduciary relationship between FHFA and shareholders.
Id. Thus, even if the Court determines that preclusion does not apply to Count VIII, that claim
must nevertheless be dismissed in light of binding precedent.


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                                      Respectfully submitted,

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